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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:07CR349
                              )
          v.                  )
                              )
JUAN C. POLANCO,              )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

for leave to file in forma pauperis (Filing No. 56).              The Court

finds said motion should be granted.         Accordingly,

          IT IS ORDERED that said motion is granted; defendant

may proceed on appeal without prepayment of costs and fees.

          DATED this 20th day of June, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
